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 6
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 7   United States of America

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10                              UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
11

12    UNITED STATES OF AMERICA,                       No. 1:18-CR-00092-NONE-SKO
13                                  Plaintiff,
14                           v.                     STIPULATION TO EXTEND BRIEFING
15                                                  SCHEDULE AND ORDER
      JOSE AUDON REYES-BARRERA,
16                                 Defendant.
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            IT IS HEREBY STIPULATED by and between McGregor W. Scott, United States
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     Attorney and Kimberly A. Sanchez, Assistant U.S. Attorney and Stephen Crawford, counsel for
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     Jose Audon Reyes-Barrera, that the government’s opposition to defendant’s motion for bail
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     review be due on May 11, 2020 and any reply be due on May 14, 2020. By previous order, the
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     government’s opposition is due on May 7, 2020 and defendant’s reply is due on May 10, 2020
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     with a hearing set for May 18, 2020. The parties are not asking to move the hearing date. Due to
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     the number of cases in which issues regarding release have been raised, as well as cases in which
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     Case 1:18-cr-00092-DAD-SKO Document 94 Filed 05/08/20 Page 2 of 2


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 2   stipulations must be filed and the ordinary course of business, the government needs additional

 3   time to file its opposition.

 4

 5   Dated: May 7, 2020                           Respectfully submitted,
 6                                                         McGREGOR W. SCOTT
                                                           United States Attorney
 7
                                                  By       /s/ Kimberly A. Sanchez
 8                                                         KIMBERLY A. SANCHEZ
                                                           Assistant U.S. Attorney
 9
     Dated: May 7, 2020                                    /s/ Stephen Crawford
10                                                         STEPHEN CRAWFORD
                                                           Attorney for Defendant
11

12                                               ORDER
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     IT IS SO ORDERED.
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15         Dated:   May 8, 2020                               /s/ Barbara A. McAuliffe            _
                                                       UNITED STATES MAGISTRATE JUDGE
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